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22
                               UNITED STATES DISTRICT COURT
23
                                     DISTRICT OF NEVADA
24
25   DIAMOND RESORTS INTERNATIONAL,             CASE NO: 2:17-cv-3007
     INC., a Delaware corporation; DIAMOND
26   RESORTS CORPORATION, a Maryland            PROPOSED DISCOVERY PLAN AND
     corporation, DIAMOND RESORTS U.S.          SCHEDULING ORDER SUBMITTED IN
27   COLLECTION DEVELOPMENT, LLC, a             COMPLIANCE WITH LR 26-1(b)
     Delaware limited liability company, and
28   DIAMOND RESORTS MANAGEMENT, INC.,          SPECIAL SCHEDULING REVIEW
     an Arizona corporation,                    REQUESTED

     CLAC 4233145.1
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 1                   Plaintiffs,

 2   vs.

 3   REED HEIN & ASSOCIATES, LLC, a
     Washington limited liability company, d/b/a
 4   TIMESHARE EXIT TEAM; BRANDON
     REED, an individual and citizen of the state of
 5   Washington; TREVOR HEIN, an individual and
     citizen of Canada; and SCOTT LOUGHRAM,
 6   an individual and citizen of the state of
     Washington,
 7
                     Defendants.
 8   _

 9
              COMES NOW Plaintiff, DIAMOND RESORTS INTERNATIONAL, INC., et al, by and
10
     through its counsel, DANIEL J. BARSKY, ESQ. of the law firm SHUTTS & BOWNE, LLP (admitted
11
     pro hac vice) and GREGORY A. KRAEMER, ESQ., of the law firm COOPER LEVENSON, P.A., and
12
     Defendants, REED HEIN & ASSOCIATES, LLC d/b/a TIMESHARE EXIT TEAM, BRANDON
13
     REED, TREVOR HEIN, and SCOTT LOUGHRAM, et al, by and through their counsel, ROBERT S.
14
     LARSEN, ESQ. of GORDON REES SCULLY MANSUKHANI, LLP., and hereby submit this
15
     Proposed Joint Discovery Plan and Scheduling Order.
16
              Fed.R.Civ.P. 26(f) Conference.
17
              The parties conducted the FRCP 26(f) conference on March 16, 2018 and there were no discovery
18
     disputes at that time, other than whether discovery should be phased. Based upon counsels’ review of
19
     the evidence-to-date in this case, the pleadings and papers on file, and the Parties’ own investigations of the
20
     various issues, the Parties now propose the following discovery plan:
21
              Plaintiffs’ filed their Complaint on December 6, 2017. Given the multiple causes of action
22
     alleged as well as the complexities and nuances of the legal issues raised, Defendants’ requested and
23
     were granted an extension to file a responsive pleading to the Complaint until February 16, 2016. On
24
     February 16, 2018, Defendants’ filed a Motion to Dismiss (ECF No. 22). The Parties entered a
25
     stipulation to continue the date Plaintiffs’ responsive pleading to the Motion to Dismiss was due to April
26
     2, 2018. Plaintiffs will be filing their response at that time.
27
              The parties jointly request a change to LR 26(b)(1) to extend the discovery period. Based upon
28
     the complexities of the case and the volume of discovery that will be conducted, the parties believe that

                                                          2
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 1   twenty-four (24) months for discovery will be required based on the following:

 2
 3          1) As presently constituted, Plaintiffs’ Complaint contains five causes of action: 1) Intentional

 4               Interference, 2) Violation of The Lanham Act, 3) False Advertising Under the Lanham Act,

 5               4) Violation of Nevada’s Deceptive Trade Practices Act, and 5) Temporary and Permanent

 6               Injunctive Relief. Since most of the causes of action raise unique factual and legal issues,

 7               each will require separate discovery.

 8          2) Although discovery has not begun, counsel for Defendants has received preliminary

 9               indication that around 2,000-2,500 customers of Plaintiffs may be involved in this case.

10               These customers reside across the United States. The sheer volume of contracts at issue will

11               require written discovery beyond the limits imposed by the Federal Rules of Civil Procedure.

12               A substantial number of out-of-district depositions will need to be conducted, likely resulting

13               in delays in conducting discovery.

14          As a result of the foregoing, and the overall complexities of the case, the Parties respectfully

15   request twenty-four (24) months to conduct discovery.

16
17          1.      Rule 26 Disclosures: Given the volume of potential witnesses and documents, the

18   Plaintiffs request that the deadline for serving their Initial Rule 26 Disclosures be enlarged to April 18,

19   2018. Given the volume of potential witnesses and documents along with the need to have a protective

20   order in place, Defendants request additional time to complete Initial Rule 26 Disclosures until June 8,

21   2018 as part of their request for a phased discovery schedule listed below.

22          2.      Discovery Cut-Off Date: The Parties request twenty-four (24) months for discovery

23   which equates to a discovery cut-off date of March 30, 2020 – 845 days after the Complaint was filed.

24          3.      Amending the Pleadings and Adding Parties: The Plaintiffs request that all motions to

25   amend the pleadings or to add parties be filed no later than November 1, 2019 – 120 days prior to the

26   proposed close of discovery. Defendants request that this date be set for June 26, 2019.

27          4.      Fed.R.Civ.P. 26(a)(2) Disclosures (Experts): The Plaintiffs’ request the disclosure of

28   experts be made on or before January 3, 2020 – 60 days before the proposed discovery cut-off date.


                                                         3
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 1   Plaintiffs request that the disclosure of rebuttal experts be made by March 1, 2020 – 29 days after the

 2   initial disclosure of experts. Given the extended discovery period, large amount of information and

 3   potential need for multiple experts, Defendants request that the deadline to disclose experts should be

 4   October 28, 2019 so allow for additional time for rebuttal expert reports and coordination of any

 5   necessary depositions. Defendants request that the deadline for rebuttal experts be made by December 3,

 6   2019.

 7           5.      Discovery Phasing Schedule: Plaintiffs and Defendants disagree on the need for a

 8   phased discovery plan. Given the potentially large number of files from both Plaintiffs and Defendants

 9   related to a potentially large group of Defendants’ customers located throughout the United States, the

10   acknowledgement by both Parties that written discovery beyond the limits set forth in the Rules, and the

11   likely need to conduct ESI discovery, Defendants believe that a phased discovery process will greatly

12   serve to organize the process and serve judicial economy of the Court and the Parties. Defendants

13   propose the following phased schedule for conducting discovery:

14           1. Discovery Cut-Off                       March 30, 2020

15           2. Joint Protective Order                  May 25, 2018
16
             3. Disclosure of Rule 26(a) Initial        June 8, 2018
17              Disclosures

18           4. Document Production Deadline            February 26, 2019
19           5. Initial Witness List Exchange           October 12, 2018
20
             6. Fact Depositions                        November 9, 2018 – September 28, 2019
21
             7. Motion to Amend Pleadings/Parties       June 26, 2019
22
             8. Simultaneous Exchange of Expert         October 28, 2019
23
                Designations and Reports
24
             9. Simultaneous Exchange of Rebuttal       December 3, 2019
25              Expert Designations and Reports
26
27
28

                                                       4
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 1   Plaintiffs do not agree with a phased discovery schedule as they do not believe phased discovery is

 2   necessary. Defendants request that the Court hold a discovery conference to discuss this discovery plan

 3   and a phased discovery schedule.

 4           6.      Interim Status Report: The parties shall file the interim status report required by LR

 5   26-3 by January 3, 2020, which is 60 days before the discovery cutoff date. Defendants agree with this

 6   date. However, given the length of the discovery period, the Parties believe that an early interim status

 7   report may be helpful to the Court and request an interim status report be set for March 30, 2019.

 8           7.      Dispositive Motions: The date for filing dispositive motions shall be no later than April

 9   29, 2020 – 30 days after the proposed discovery cut-off date. In the event that the discovery period is

10   extended from the discovery cut-off date set forth in this proposed Discovery Plan and Scheduling

11   Order, the date for filing dispositive motions shall be extended to be not later than 30 days from the

12   subsequent discovery cut-off date.

13           8.      Pretrial Order: The date for filing the joint pretrial order shall not be later than May 28,

14   2020 – 29 days after the cut-off date for filing dispositive motions. In the event that dispositive motions

15   are filed, the date for filing the joint pretrial order shall be suspended until 30 days after decision on the

16   dispositive motions or until further order of the court. In the further event that the discovery period is

17   extended from the discovery cut-off date set forth in this Discovery Plan and Scheduling Order, the date

18   for filing the joint pretrial order shall be extended in accordance with the time periods set forth in this

19   paragraph.

20           9.      Fed.R.Civ.P. 26(a)(3) Disclosures: The disclosures required by Fed. R. Civ. P.

21   26(a)(3), and any objections thereto, shall be included in the joint pretrial order.

22           10.     Alternative Dispute Resolution: Counsel for the Parties certify that they met and

23   conferred about the possibility of using alternative dispute resolution including mediation, arbitration

24   and/or an early neutral evaluation. The Parties agree that an early neutral evaluation would not be

25   effective at this time as the Parties and their counsel believe that it is necessary to conduct discovery

26   before attempting to resolve this case. The Parties and their counsel are not interested in submitting this

27   case to arbitration.

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                                                          5
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 1            11.    Alternative Forms of Case Disposition: Counsel for the Parties certify that they

 2   discussed consenting to trial by a magistrate judge or engaging in the Short Trial Program under Fed. R.

 3   Civ. P. 73 and at present do not consent to either alternative form of case disposition.

 4            12.    Electronic Evidence: Counsel for the Parties certify that they have discussed and intend

 5   to use electronic evidence at the trial of this matter and will ensure that said evidence is in an electronic

 6   format compatible with the Court’s electronic jury evidence display system. At present, the parties have

 7   not agreed upon any stipulations regarding use of electronic evidence but will address this issue again in

 8   the PreTrial Order.

 9            13.    Protective Order: The discovery in this case is expected to involve sensitive and

10   confidential information of the Parties and non-parties. Accordingly, a protective order will be
11   necessary before disclosure of customer names or document production begins. The Parties will meet
12
     and confer on a joint protective order. In the event that the Parties cannot agree on a joint protective
13
     order, either Party may petition the Court for entry of a protective order pursuant to Fed. R. Civ. P.
14
     26(c).
15
16            14.    Extensions or Modifications of the Discovery Plan and Scheduling Order: Any

17   stipulation or motion must be made no later than 21 days before the subject deadline. Requests to extend

18   discovery deadlines must comply fully with LR 26-4.
19
              Respectfully submitted this 30th day of March, 2018.
20
21
     GORDON REES SCULLY MANSUKHANI,                       COOPER LEVENSON, P.A.
22   LLP

23   /s/ Robert S. Larsen                                 /s/ Daniel J. Barsky

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              15
              16
                                                      IT IS SO ORDERED.
              17
              18                                      ____________________________
                                                      United Stated Magistrate Judge
              19
              20                                      Dated:______________________

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              28
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